Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page1lof25 PagelD 7476

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FT. WORTH DIVISION

ATTENDANTS, MCGAUGHEY,
REBER AND ASSOCIATES, INC.,
JULIE HEDRICK, ERIK HARRIS

Defendants/Counterclaim Plaintiff.

ROBERT “BOB” ROSS AND §
EUGENIO VARGAS §
Plaintiff/Counterclaim Defendant §
§ Case No. 4:22-CV-00343-Y
§
V. § Consolidated with
§ Case No. 4-22-CV-00430-Y
§
§
§
ASSOCIATION OF § Judge: Terry R. Means
PROFESSIONAL FLIGHT §
§
§
§
§
§
§

DECLARATION OF KERRI PHILIPS ATTORNEY’S FEES
STATE OF TEXAS §

§
COUNTY OF DENTON  §

Pursuant to 28 U.S.C. § 1746, I, Kerri Phillips, declare:

iL. “T am over 18 years of age and reside in the State of Texas. I have
never been convicted of any felony or other crime involving moral turpitude. I
am fully competent to make this affidavit.

2. Ihave personal knowledge of the facts set forth 1n this affidavit
and the facts are true and correct.

oe I am the owner and founding attorney of KD Phillips Law
Firm, PLLC (the “Firm”’), in which as many as three associates have been under my
direction and located at 6010 West Spring Creek Parkway, Plano, Texas 75024.

4. The Firm represents Plaintiff Robert Ross in this action.

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Plaintiff Robert Ross has agreed to pay the Firm for professional services and
costs at an agreed-upon hourly rates on a contingency basis.

5. Also, I represent Plaintiff, Eugenio Vargas related action has
very recently consolidated with the Ross action. Likewise, Eugenio Vargas has
agreed to pay the Firm for professional services and costs at an agreed-upon
hourly rates on a contingency basis.

Experience
I performed the work described in this affidavit.

6. I graduated from the SMU Dedman School of Law in 2008 and
have been licensed to practice in Texas since November 2008. I am a member
in good standing with the State Bar of Texas. I have dedicated my career to
debt law and debtor’s and creditor’s rights cases involving contract and
guaranty claims. I have worked in the corporate, public and private sector,
representing both lenders and borrowers. My genre is bankruptcy, creditor-
debtor and finance matters. Currently, I am the owner and founding attorney
and my standard rate for 2022 - present is $350 per hour.

Case Records

As an attorney practicing in the commercial litigation and financial services and
as owner, I am the custodians of records for the Firm’s litigation matters. The
Firm keeps the records I identify in this affidavit in the regular course of
business. A person with knowledge of the act, event, condition, or opinion
made these records at or near the time, or reasonably soon after, the act, event,
or condition occurred, or opinion was made. The records I identify in this
affidavit— except for any limited redactions to protect confidential
information—are the originals or exact duplicates of the originals.

Robert Ross Sued the Association of Professional Flight Attendants,
McGaughey, Reber and Associates, Jule Hedrick and Entk Harts to
Vacate an Arbitration Award and tor Breach of Federal and Texas
Common Law Fiduciary Duty regarding a Disciplinary Action

On April 22, 2022, Robert Ross filed his Original Complaint in the United State
District Court for the Northern District of Texas, Fort Worth Division, against
the Association of Profession Flight Attendants, McGaughey, Reber and
Associates, Inc., Julie Hedrick, and Erik Harris for breach of contract, to vacate
a disciplinary action which has caused him reputational harm and has violated
his violated his civil rights. Mr. Ross was initially sued by the flight attendants
for the alleged debt owed, and his account was placed in collections.

Eugenio Vatgas Sued the Assoctation of Professional Flight Attendants,

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Julte Hedrick and Erik Harris to Vacate an Arbitration Award and for
Breach of Federal and Texas Common Law Fiductaty Duty regarding a
Disciplinary Action

On May 17, 2022, Eugenio Vargas filed his Original Complaint in the United
State District Court for the Northern District of Texas, Fort Worth Division,
against the Association of Profession Flight Attendants, Julie Hedrick, and Erik
Harris to vacate a disciplinary action, also.

Hours Worked & Fees Incurted

The Firm has worked to date hours on this matter 1,624.75. That work
includes, among others: (a) review and analysis of the termination agreement,
union constitution, collective bargaining and labor law essentials along with
Labor Management Reporting and Disclosure Act familiarity; (b)
corresponding with personnel regarding the basis and status of the claim and
status of pre-litigation and litigation endeavors; (d) writing, filing, and serving
the original complaint; (e) obtaining service on Defendants; (f) document
reviews, compilation and analysis during the discovery process, (g) research
and investigation of witnesses, writing, revising, and filing the motions,
including motions for summary judgment, pleadings and discovery requests
and responses; and (i) including frequent communications with each client and
others associated with the developments of this suit.

The work can be segregated by reference to the ABA’s litigation codes: A101
(planning and prepare[consultation]); A102 (research); A103 (draft/revise);
A104 (review/analyze); A105 (communicate (in firm)); A106; (communicate
(with client)); A107 (communicate (other outside counsel)); A108
(communicate (external)); A111 (budgeting) L110 (fact
investigation/development); L120 (analysis & strategy); L140
(document/management); L150 (other); L190 (other case assessment,
development and administration); L210 (pleadings); L230 (court mandated
conference; L240 (dispositive motions); L250 (other written motions and
submissions); L320 (document production); L330 (depositions); L390 (other
discovery); L410 (fact witnesses); L440 (other trial/[hearing] preparation and
support; L450 (trial and hearing attendance).

The below chart reflects the hours I describe above, multiplied by the
rates the Firm charges for each professional. The chart reflects both
billed and unbilled time. The unbilled time is “work in progress” mostly
related to the motion for summary judgment and is yet to be invoiced.

. The below chart reflects the hours I describe above, multiplied
by the rates the Firm charges for each professional. The chart reflects both

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page4of25 PagelD 7479

billed and unbilled time. The unbilled time is “work in progress” mostly related
to the motion for summary judgment and is yet to be invoiced.

ABA LITIGATION CODES

KDP
A101 3.50
A102 182.00
A103 131.25
A104 104.50
A105 16.00
A106 115.75
A107 15.75
A108 48.00
A110 28.75
Al11 6.25
L110 222.25
L120 95.25
L140 56.75
L150 32.50
L190 13.50
L210 77.50
L230 7.00
L240 66.75
L250 32.00
L320 223.50
L330 21.75
L390 47.50
L410 64.50
L440 9.75
L450 2.50
TOTAL 1,624.75

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The Hours Worked Ate Reasonable

2. The hours the Firm worked on this matter are reasonable. I
performed most of the work related to the pleadings and the motion for
summary judgment. The work on the motion for summary judgment took a
reasonable amount of time and represents a sensible use of resources.

3. The work related to this declaration is also reasonable, as it
included a review of billing entries which are contingency based. Mr. Ross
carries a certain percentage of the hourly charges and Mr. Vargas carries the
remainder. One report is generated, and both parties receive the billing diary
together.

4. The work performed on the motions for summary judgment is
reasonable and necessary to dispose of this case because I have an obligation
to pursue this case diligently and because liability and damages are established
beyond dispute. It is my professional opinion that the hours the Firm spent
creating and finalizing the motion for summary judgment were reasonable and
necessary to enforce Mr. Ross’s rights in this case.

The Hourly Rates Charged Are Reasonable

5. I am familiar with the amount of legal work necessary in debt
claims in the crtvil litigation sector. Regarding the subject matter of the case, as
I explain above, I am a career commercial litigator and I have focused almost
exclusively on representing financial institutions, borrowers, and creditors.
Regarding customary rates, I began my legal career in the Dallas-Fort Worth
Area in 2008. Through my own practice, I am aware of the fees commonly
charged in Collin, Denton, Dallas and Tarrant County for the kind of legal
services rendered in this case.

6. Based on my experience in the Collin County legal market and,
specifically, the market for complex commercial litigation counsel, the rates I
charges are equal to or less than of the peer attorneys who have similar
education, work background, and experience, and who perform similar work
for clients in similar cases. The fee 1s a flat rate with no incremental increase
from year-to-year as charged by most firms.

The Total Fee Amount Is Reasonable

re The amount of work necessary to pursue the claims in this case
was reasonable.

8. The disputes’ resolution attempts involved three stages. First,

Mr. Ross sought to dialogue with the union to resolve the issues but without avail. Shortly
after filing the suits, both Mr. Ross and Mr. Vargas offered three settlement options

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page6of25 PagelD 7481

including a mutual walk away and the union rejected all three offers in Spring 2023. During
Fall 2023, Mr. Ross and Mr. Vargas attempted again to cooperate with the
Defendants and agree to mediation yet without avail. Unfortunately, on multiple
occasions, both gentlemen sought amicable resolutions to their matters and had
expected Defendants to work with them. When those efforts failed, they filed
motions for summary judgment. In doing so, it was critical that I present
thorough, professional, and persuasive motions to the court to avoid further
expenses.

9, For the reason described above, it is my opinion that: (a) the
time the Firm spent in handling this case and preparing the motions for
summary judgment was reasonable and necessary; (b) the Firm’s rates are
reasonable and necessary; and (c) the total fees billable of $568,662.50 for the
amount of work necessary to pursue the claims 1n this case was reasonable.

Expenses Incurred

10. The case incurred filing and service of process cost. $6,493.65
in expenses related to this matter: $545.00 for the investigator/process server
to serve three citations I conduct due diligence in an attempt to locate the
parties. $402.00 for filing each original complaint; and $7.00 for research with the
Texas Secretary of State to confirm details about Defendants. Deposition costs
were $3,231.55. PACER cost incurred has totaled $2,308.10 It is my opinion that
these expenses are reasonable and necessary.

id. The total amount of reasonable fees plus expenses for this
matter is $575,156.15.

Hearing & Appellate Fees

12. It is also my opinion that an additional $5,000 will be necessary
if there is a hearing on this matter and for any further prosecution of this
motion, $7,000 will be necessary if motions to vacate are filed, and an additional
$20,000 will be necessary if appeals are filed. I base these opinions on my
experience in handling motions for summary judgment.

13. after the Firm’s professional fee invoices related to these matters
are attached hereto and incorporated as Exhibit A.

14. After considering the record in this case, the amount in
controversy, and the other factors listed and examined above, it is my opinion
that Mr. Ross incurred legal fees and expenses in the amount of
$502,362.50 and Mr. Vargas incurred $72,495.56. Thus, the combine total
of legal fees and expenses in the amount of $574,858.06 are reasonable and

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page7of25 PagelD 7482

necessary attorneys’ fees, court costs, and expenses for the prosecution of this
matter through the date of the filing of Robert Ross and Eugenio Vargas’s motions
for summary judgment against all Defendants.

I declare under penalty of perjury that the foregoing is true and correct.

FURTHER AFFIANT SAYETH NOT.

EXECUTED on this the 26" day of April 2024.

Rw Auli

Kerri Phillips

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 8of25 PagelD 7483

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION EXHIBIT A
§
ROBERT “BOB” ROSS AND §
EUGENIO VARGAS § Civil Action No. 4:22-cv-343-Y
§
Plaintiffs/Counterclaim Defendants, § Consolidated with
§ Civil Action No. 4:22-cv-430-Y
V. §
§ Judge Terry R. Means
ASSOCIATION OF PROFESSIONALS
FLIGHT ATTENDANTS, et al., §
§
Defendants/Counterclaim §
Plaintiffs. §

INDEX TO EXHIBITS IN SUPPORT OF DECLARATION
FOR ATTORNEY’S FEES AND COSTS

Description Appx Pgs.

SUPPORTING DOCUMENTS

Exhibit 1 — KD Phillips Law Firm Invoice#’s 001-0027 in the 807-861
amount of $568,662.50 from January 2022 to current for legal
services for Bob Ross and Eugenio Vargas

Exhibit 2 - 10.12.2022 Invoice# 7790736 in the amount of $150.00 862-863
from Sparre Process Servers re Service of Process of Armendariz
subpoena duces tecum

Exhibit 3 - 10.12.2022 Invoice# 7790756 in the amount of $135.00 864-865
from Sparre Process Servers re Service of Process of Woods Stephens
O’Neil subpoena duces tecum

Exhibit 4 - 10.12.2022 Invoice# 7790772 in the amount of $135.00 866-867
from Sparre Process Servers re Service of Process of Cornwell
Jackson subpoena duces tecum

Exhibit 5 - 08.23.2023 Invoice# 9450477 in the amount of $125.00 868-869
from Service of Process re American Airline FCU subpoena duces
tecum

Exhibit 6 - 02.08.2024 Invoice# 9586A in the amount of $1,083.90 870-871
from Stryker Court Reporting re 02.01.2024 Ross Deposition
Transcript

Exhibit 7 - 02.08.2024 Invoice# 9588A in the amount of $362.90 872-873
from Stryker Court Reporting re 02.02.2024 Vargas Deposition
Transcript

Exhibit 8 - 03.05.2024 Invoice3 41537 in the amount of $505.00 874-876
from Elite Video Productions re 02.01.2024 Ross Deposition Video
with redacted receipt

Exhibit 9 - 03.21.2024 Invoice# 9744A in the amount of $313.00 877-878
Stryker Court Reporting re 03.08.2024 Vargas Deposition Transcript

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page9of25 PagelD 7484
EXHIBIT A

10 Exhibit 10 - 03.21.2024 Invoice# 9763A in the amount of $341.75 879-880
Stryker Court Reporting re 03.15.2024 Ross Deposition Transcript

11 Exhibit 11 - 03.28.2024 Invoice# 41592 in the amount of $625.00 881-883
from Elite Video Production re 03-08-2024; and 03-15-2024 Ross
and Vargas Deposition Videos

12 Exhibit 12 - 07.07.2022 Invoice# 4914009-Q22022 in the amount of | 884-885
$189.50 from Pacer re Ross and Vargas

13 Exhibit 13 - 10.05.2022 Invoice# 4914009-Q32022 in the amount of | 886-887
$363.80 from Pacer re Ross and Vargas

14 Exhibit 14 - 01.04.2023 Invoice# 4914009-Q42022 in the amount of | 888-889
$288.40 from Pacer re Ross and Vargas

15 Exhibit 15 - 04.04.2023 Invoice# 4914009-Q12023 in the amount of | 890-891
$68.80 from Pacer re Ross and Vargas

16 Exhibit 16 - 07.05.2023 Invoice# 4914009-Q22023 in the amount of | 892-893
$247.50 from Pacer re Ross and Vargas

17 Exhibit 17 - 10.04.2023 Invoice# 4914009-Q32023 in the amount of | 894-895
$397.40 from Pacer re Ross and Vargas

18 Exhibit 18 - 01.04.2024 Invoice# 4914009-Q42023 in the amount of | 896-897
$364.20 from Pacer re Ross and Vargas

19 Exhibit 19 - 04.04.2024 Invoice# 4914009-Q12024 in the amount of | 898-899
$388.50 from Pacer re Ross and Vargas

Respectfully submitted,
K.D. PHILLIPS LAW FIRM, PLLC

By: /s/_ Kerri Phillips
Kerri Phillips

Texas Bar No. 24065906
Phone: (972) 327-5800

Email: kerri@KDphillipslaw.com

6010 W. Spring Creek Parkway
Plano, Texas 75024

Fax: (940) 400-0089

For Service of Filings:

notice@KDphillipslaw.com

ATTORNEY FOR PLAINTIFF

CERTIFICATE OF SERVICE

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page10of25 PagelD 7485
EXHIBIT A

I certify that the true and correct copy of this document was sent to all counsel of record,
hereunder listed via ECF Filing on this the 26™ day of April 2024.

/s/_ Kerri Phillips
Kerri Phillips, Esq.

Jeffrey Bartos

Guerrieri, Bartos, & Roma, P.C.

1900 M Street, NW, Suite 700
Washington, DC 20036

Tel: (202) 624-7400; Fax: (202) 624-7420

Email: jbartos@geclaw.com

Charlette Matts

In-House Counsel for APFA
1004 West Euless Blvd
Euless, TX 76040

Tel: (682) 301-8454
Cmatts@apfa.or

James Sanford

4803 Gaston Avenue

Dallas, TX 75249-1020

Tel: (214) 800-5111; Fax: (214) 838-
0001

Email jim@gillespiesanford.com
Email: joe@gillespiesanford.com

Michael Rake

PO Box 1556

Lake Dallas, TX 75065-1556

Tel: (940) 498-2103 Fax: (940) 498-2103
Email: mrakel@mrakeattorney.com

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page11of25 PagelD 7486

Tab 1

APPENDIX 807
Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 12 of EXALbit 1,

KD

PHILLIPS
LAW FIRM

5700 Tennyson Parkway, Suiite 300
Plano, Texas 75024

Invoice

Bill To:
Robert Ross Invoice Date: 02/01/22
Sent via email: 1rross@comcast.net Invoice No. 001
Billing Period:}91/01/22 to
01/31/22
For Legal Services Rendered
16.75 hrs@$350.00 per hr
Date Activity Hours
1/28/2022 Consult. 3.50
1/28/2022 Corresp 1.25
1/29/202 Comm wi client 2.00
1/31/2022 Comm w client 2.15
1/31/2022 Review docs 4.50
1/31/2022 Rsch 2.75
Total Billable Hours: 16.75
Total Professional Services: $350.00
Total Expenses: $0.00
Total Invoice Amount: $5,862.50
Previous Balance: $0.00

Terms & Conditions
Please remit payment upon receipt
After 45 days, additional charges may apply.

Balance (Amount Due): $5,862.50

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 13 of EXALDIt 1.

KT) Invoice

PHILLIPS
LAW FIRM

5700 Tennyson Parkway, Suiite 300
Plano, Texas 75024

Bill To:

Robert Ross Invoice Date: 03/01/22

Sent via email: 1rross@comcast.net Invoice No. 002

Billing Period:|92/01/22 to
02/28/22
For Legal Services Rendered
24.50 hrs@$350.00 per hr

Date Activity Hours
2/1/2022 File review, corresp 2.25
2/1/2022 Telecontf. 1.75
2/1/2022 Rsch 4.75
12/15/1900 Review pleadings, corresp 0.50
2/9/2022 Rsch, draft 3.75
2/12/2022 Comm wi client 2.00
2/16/2022 Prepare for hearing, corresp. 2.25
2/23/2022 Comm wi client 1.00
2/24/2022 Rsch 3.75
2/28/2022 Teleconf. 1.50
2/28/2022 Attend hearing 1.00
Total Billable Hours: 24.50
Total Professional Services: $350.00
Total Expenses: $0.00
Total Invoice Amount: $8,575.00
Previous Balance: $0.00

Balance (Amount Due): $8,575.00

Terms & Conditions
Please remit payment upon receipt
After 45 days, additional charges may apply.

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 14 of XA 1.

KT) Invoice

PHILLIPS
LAW FIRM

5700 Tennyson Parkway, Suiite 300
Plano, Texas 75024

Bill To:

Robert Ross Invoice Date: 04/01/22

Sent via email: 1rross@comcast.net Invoice No. 003

Billing Period:|93/01/22 to
03/31/22
For Legal Services Rendered
46.50 hrs@$350.00 per hr.

Date Activity Hours
3/1/2022 Status Meeting 2.25
3/5/2022 Comm wi client 2.75
3/7/2022 Review pleadings 4.00
3/7/2022 Corresp 0.25
3/8/2022 Teleconf. 2.15
3/8/2022 Review docs 3.75
3/8/2022 Rsch, draft complaint 4.75
3/11/2022 Rsch 2.75
3/11/2022 Draft complaint, corresp. 2.25
3/15/2022 Assess strategy 4.75
3/16/2022 Telecontf. 1.00
3/23/2022 Review docs 5.25
3/23/2022 Edit complaint 2.25
3/23/2022 Comm wi client 2.25
3/30/2022 Review docs 2.50
3/31/2022 Review draft complaint 2.00
3/31/2022 Comm wi client 1.00
Total Billable Hours: 46.50
Total Professional Services: $350.00
Total Expenses: $0.00
Total Invoice Amount: $16,275.00
Previous Balance: $0.00

Balance (Amount Due): $16,275.00

|Terms & Conditions |

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 15 of EXALbIt 4,

Please remit payment upon receipt
After 45 days, additional charges may apply.

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 16 of -EXALbit 4,

KT) Invoice

PHILLIPS
LAW FIRM

5700 Tennyson Parkway, Suiite 300
Plano, Texas 75024

Bill To:

Robert Ross Invoice Date: 05/01/22

Sent via email: 1rross@comcast.net Invoice No. 004

Billing Period:|94/01/22 to
04/30/22
For Legal Services Rendered
48.00 hrs@$350.00 per hr.

Date Activity Hours
4/1/2022 Status Meeting 1.75
4/2/2022 Comm wi client 1.50
4/6/2022 Review pleadings 0.50
4/6/2022 Corresp 0.75
4/13/2022 Comm wi client 2.15
4/13/2022 Review docs 6.75
4/14/2022 Rsch, draft complaint 6.25
4/14/2022 Rsch 4.75
4/15/2022 Status Meeting 1.00
4/18/2022 Draft complaint, corresp. 2.15
4/18/2022 Comm w client 1.00
4/18/2022 Rsch 5.50
4/19/2022 Compile exhibits/appendix 4,25
4/19/2022 Telecontf. 1.25
4/19/2022 Edit complaint 3.25
4/19/2022 Comm wi client 0.50
4/20/2022 File complaint 2.00
4/21/2022 Instructions to process server 0.50
4/22/2022 Telecontf. 0.75
4/25/2023 Teleconf w process server 0.25
Total Billable Hours: 48.00
Total Professional Services: $350.00
Total Expenses: $0.00
Total Invoice Amount: $16,800.00
Previous Balance: $0.00

Balance (Amount Due): $16,800.00

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 17 of -EXALbit 1.

Terms & Conditions
Please remit payment upon receipt
After 45 days, additional charges may apply.

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KT) Invoice

PHILLIPS
LAW FIRM

5700 Tennyson Parkway, Suiite 300
Plano, Texas 75024

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Bill To:

Robert Ross and Eugenio Vargas Invoice Date: 06/01/22

Sent via email: 1rross@comcast.net and medellin3@hotmail.com Invoice No. 005

Billing Period:}95/01/22 to
05/31/22
For Legal Services Rendered
41.25 hrs@$350.00 per hr.

Date Activity Hours
5/2/2022 Status Meeting 1.75
5/2/2022 Comm wi client 2.00
5/3/2022 Rsch 3.15
5/6/2022 Corresp 0.75
5/11/2022 Comm wi client 2.75
5/16/2022 Status Meeting 1.50
5/16/2022 Review draft and finalize Complaint 4.50
5/17/2022 File Complaint 0.50
5/18/2022 Review docs 5.75
5/18/2022 Draft pro hac vice app 0.75
5/21/2022 Comm wi client 2.50
5/23/2022 Rsch 5.75
5/24/2022 Instructions to process server 0.50
5/23/2022 Teleconf. 0.50
5/25/2023 Teleconf w process server 0.25
5/27/2022 Comm wi client 1.50
5/31/2022 Review pleadings 5.25
5/31/2022 Corresp 1.00
Total Billable Hours: 41.25
Total Professional Services: $350.00
Total Expenses: $0.00

Total Invoice Amount: $14,437.50

|Terms & Conditions

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Previous Balance: $0.00
Balance (Amount Due): $14,437.50

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Please remit payment upon receipt
After 45 days, additional charges may apply.

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 20 of XA Lbit 1

KT) Invoice

PHILLIPS
LAW FIRM

5700 Tennyson Parkway, Suiite 300
Plano, Texas 75024

Bill To:

Robert Ross and Eugenio Vargas Invoice Date: 07/01/22

Sent via email: 1rross@comcast.net and medellin3@hotmail.com Invoice No. 006

Billing Period:|96/01/22 to
06/30/22
For Legal Services Rendered
34.25 hrs@$350.00 per hr.

Date Activity Hours
6/1/2022 Status Meeting 1.75
6/2/2022 Comm wi client 1.75
6/4/2022 Rsch 4.75
6/5/2023 Draft pleading, corresp. 4.00
6/4/2022 Review pleadings 0.50
6/6/2023 File pleading 2.00
6/6/2022 Corresp 0.25
6/14/2022 Comm wi client 0.75
6/15/2022 Review docs 2.15
6/16/2022 Status Meeting 1.00
6/17/2022 Rsch 4.75
6/20/2022 Draft pleading, corresp. 2.75
6/22/2022 Telecontf. 1.00
6/24/2022 Comm wi client 2.25
6/28/2022 Telecontf. 0.50
6/29/2023 Review pleadings 1.50
6/29/2022 Corresp 0.50
6/30/2022 Teleconf. 1.50
Total Billable Hours: 34.25
Total Professional Services: $350.00
Total Expenses: $0.00
Total Invoice Amount: $11,987.50
Previous Balance: $0.00

Balance (Amount Due): $11,987.50

|Terms & Conditions |

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 21 of XA LDIt 4.

Please remit payment upon receipt
After 45 days, additional charges may apply.

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 22 of XA Lbit 1,

KT) Invoice

PHILLIPS
LAW FIRM

5700 Tennyson Parkway, Suiite 300
Plano, Texas 75024

Bill To:

Robert Ross and Eugenio Vargas Invoice Date: 08/01/22

Sent via email: 1rross@comcast.net and medellin3@hotmail.com Invoice No. 007

Billing Period:|97/01/22 to
07/31/22
For Legal Services Rendered
31.50 hrs@$350.00 per hr.

Date Activity Hours
7/1/2022 Status Meeting 1.00
7/2/2022 Comm wi client 1.75
7/12/2022 Review docs 4.50
7/13/2022 Rsch 5.50
7/15/2022 Status Meeting 0.75
7/16/2022 Assess strategy 5.25
7/18/2022 Corresp. 0.50
7/18/2022 Comm wi client 1.75
7/18/2022 Telecontf. 1.25
7/21/2022 Review pleadings 2.25
7/21/2022 Telecontf. 1.75
7/21/2022 Mtg & Conf prep 0.75
7/21/2022 Mtg re 26(f) - Meet & Conf 1.00
7/22/2022 Review pleadings 0.75
7/23/2022 Comm wi client 2.00
7/29/2022 Draft disclosures 0.75
Total Billable Hours: 31.50
Total Professional Services: $350.00
Total Expenses: $0.00
Total Invoice Amount: $11,025.00
Previous Balance: $0.00

Balance (Amount Due): $11,025.00

|Terms & Conditions |

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 23 of EXALDIt 4.

Please remit payment upon receipt
After 45 days, additional charges may apply.

12 of 54 APPENDIX 819
Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 24 of XA 4,

KT) Invoice

PHILLIPS
LAW FIRM

5700 Tennyson Parkway, Suiite 300
Plano, Texas 75024

Bill To:

Robert Ross and Eugenio Vargas Invoice Date: 09/01/22

Sent via email: 1rross@comcast.net and medellin3@hotmail.com Invoice No. 008

Billing Period:|98/01/22 to
08/31/22
For Legal Services Rendered
32.00 hrs @$350.00 per hr.

Date Activity Hours
8/3/2022 Status Meeting 0.75
8/6/2022 Corresp 0.25
8/13/2022 Comm wi client 1.75
8/13/2022 Review docs 3.75
8/14/2022 Rsch, compile docs 5,25
8/14/2022 Review pleadings 2.75
8/16/2022 Form witness kits 0.50
8/17/2022 Rsch 2.00
8/17/2022 Status Meeting 0.75
8/18/2022 Draft pleading, corresp. 2.15
8/18/2022 Telecontf. 1.00
8/19/2022 Rsch witnesses 4,25
8/19/2022 Telecontf. 1:25
8/19/2022 Edit motion 2.25
8/19/2022 Telecontf. 0.50
8/23/2022 File motion 2.00
8/24/2022 Comm wi client 1.00
8/27/2022 Comm wi client 1.75
Total Billable Hours: 32.00
Total Professional Services: $350.00
Total Expenses: $0.00
Total Invoice Amount: $11,200.00
Previous Balance: $0.00

Balance (Amount Due): $11,200.00

|Terms & Conditions |

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Case 4:22-cv-00343-Y Document 239-19 Filed 04/26/24 Page 25 of EXAbIt 4,

Please remit payment upon receipt
After 45 days, additional charges may apply.

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